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case No. 2016-1397 gap;§::;qg C

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WlLLIAM LAWRENCE SUMMERS
ORDER

AS AN ATTORNEY AND COUNSELOR AT LAW

William Lawrence Summers, Attomey Registration No. 0013007, last known business
address in Cleveland, Ohio, who Was admitted to the bar of this state on November 8, 1969,
submitted an application for retirement or resignation pursuant to Gov.Bar R. VI(7). The
application Was referred to disciplinary counsel pursuant to Gov.Bar R. VI(7)(B). On September
21, 2016, the Office of Attomey Services filed disciplinary counsel’s report, under seal, with this
court in accordance with Gov.Bar R. VI(7)(B)(2).

On consideration thereof, it is ordered by the court that pursuant to Gov.Bar R. VI(7)(C),
the resignation as an attorney and counselor at law is accepted as a resignation with disciplinary
action pending

It is further ordered and adjudged that from and after this date all rights and privileges
extended to respondent to practice law in the state of Ohio be withdrawn, that henceforth
respondent shall cease to hold himself forth as an attorney authorized to appear in the courts of
this state, that respondent shall not attempt, either directly or indirectly, to render services as an
attorney or counselor at law to or for any individuals, corporation, or society, nor in any way
perform or seek to perform services for anyone, no matter how constituted, that must by law be
executed by a duly appointed and qualified attorney Within the state of Ohio.

lt is further ordered that respondent desist and refrain from the practice of law in any form,
either as principal or agent or clerk or employee of another, and hereby is forbidden to appear in
the state of Ohio as an attorney and counselor at law before any court, judge, board, commission,
or other public authority, and hereby is forbidden to give another an opinion as to the law or its
application or advise with relation thereto.

lt is further ordered that before entering into an employment, contractual, or consulting
relationship With any attorney or law firm, respondent shall verify that the attorney or law firm has
complied with the registration requirements of Gov.Bar R. V(23)(C). If employed pursuant to
Gov.Bar R. V(23) respondent shall refrain from direct client contact except as provided in Gov.Bar
R. V(23)(A)(l) and from receiving, disbursing, or otherwise handling any client trust iimds or

property.

lt is further ordered that respondent shall not enter into an employment, contractual, or
consulting relationship with an attorney or law firm With which respondent was associated as a
partner, shareholder, member, or employee at the time respondent engaged in the misconduct that
resulted in this acceptance of respondent’s resignation With discipline pending

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lt is further ordered that respondent shall surrender respondent's certificate of admission to
practice to the clerk of the court on or before 30 days from the date of this order and that
respondent's name be stricken from the roll of attorneys maintained by this court

lt is further ordered by the court that Within 90 days of the date of this order, respondent
shall reimburse any amounts that have been awarded against respondent by the Lawyers’ Fund for
Client Protection pursuant to Gov.Bar R. Vlll(7)(F). lt is further ordered by the court that if after
the date of this order the Lawyers’ Fund for Client Protection awards any amount against
respondent pursuant to Gov.Bar R. VIll(7)(F), respondent shall reimburse that amount to the
Lawyers’ Fund for Client Protection within 90 days of the notice of that award.

lt is further ordered that on or before 30 days from the date of this order, respondent shall
do the following:

l. Notify all clients being represented in pending matters and any co-counsel of
respondent's resignation and consequent disqualification to act as an attorney after the
effective date of this order and, in the absence of co-counsel, also notify the clients to seek
legal service elsewhere, calling attention to any urgency in seeking the substitution of
another attorney in respondent's place;

2. Regardless of any fees or expenses due, deliver to all clients being represented in
pending matters any papers or other property pertaining to the client or notify the clients
or co-counsel, if any, of a suitable time and place where the papers or other property may
be obtained, calling attention to any urgency for obtaining such papers or other property;

3. Ref`und any part of any fees or expenses paid in advance that are unearned or not paid
and account for any trust money or property in the possession or control of respondent;

4. Notify opposing counsel or, in the absence of counsel, the adverse parties in pending
litigation of respondent's disqualification to act as an attorney after the effective date of
this order and file a notice of disqualification of respondent With the court or agency before
Which the litigation is pending for inclusion in the respective file or files;

5. Send all notices required by this order by certified mail with a return address where
communications may thereafter be directed to respondent;

6. File with the clerk of this court and disciplinary counsel of the Supreme Court an
affidavit showing compliance with this order, showing proof of service of the notices
required herein, and setting forth the address where the affiant may receive

communications; and

7. Retain and maintain a record of the various steps taken by respondent pursuant to this
order.

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lt is further ordered that until such time as respondent fully complies with this order,
respondent shall keep the clerk and disciplinary counsel advised of any change of address where
respondent may receive communications

lt is further ordered that all documents filed with this court in this case shall meet the filing
requirements set forth in the Rules of Practice of the Supreme Court of Ohio, including
requirements as to forrn, number, and timeliness of filings All case documents are subject to
Sup.R. 44 through _47, which govern access to court records.

lt is further ordered that service shall be deemed made on respondent by sending this order,
and all other orders in this case, to respondent’s last known address.

lt is further ordered that the clerk of this court issue certified copies of this order as provided
for in Gov.Bar R. V(17)(D)(1) and that publication be made as provided for in Gov.Bar R.

V( 17)(9)(2)-

 

 

Maureen O’Connor
Chief Justice

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The Official Case Announcement can be found at http://www.supremccourt.ohio/gov/ROD/docs/

